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                                                                          USDC SDNY
UNITED STATES DISTRICT COURT                                              DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                             ELECTRONICALLY FILED
------------------------------------------------------------- X           DOC #: _________________
UNITED STATES OF AMERICA,                                     :           DATE FILED: 12/23/2024
                                                              :
                              -against-                       :
                                                              :
GHISLAINE BARRIENTOS,                                         :                1:24-mj-3475
                                                              :
                                         Defendant.           :                  ORDER
------------------------------------------------------------ X

GREGORY H. WOODS, United States District Judge:

         A proceeding in this matter will take place on January 8, 2025 at 3:00 p.m. The proceeding

will take place in Courtroom 12C, Daniel Patrick Moynihan United States Courthouse, New York,

New York 10007. The parties are directed to appear for the proceeding as scheduled unless

otherwise ordered by the Court.

         SO ORDERED.

Dated: December 23, 2024
                                                                  __________________________________
                                                                          GREGORY H. WOODS
                                                                         United States District Judge
